                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                        )
 et al.,                                             )
                                                     )
                Plaintiffs and                       )
                Counterclaim Defendants,             )
                                                     )
 v.                                                  )          Case No. 4:16-cv-02163
                                                     )
 PEOPLE FOR THE ETHICAL                              )
 TREATMENT OF ANIMALS, INC., et al.,                 )
                                                     )
                Defendants and                       )
                Counterclaim Plaintiffs.             )

                           DECLARATION OF JARED GOODMAN

       Pursuant to 28 U.S.C. § 1746, I, Jared Goodman, declare the following to be true and

correct to the best of my knowledge and belief:

       1.      I am counsel for Defendant and Counterclaim Plaintiff Angela Scott. I make this

declaration based upon my personal knowledge.

       2.      Ms. Scott resides in Gaithersburg, Maryland. She has informed me that it is

difficult for her to travel to St. Louis, Missouri, because she has a fear of flying.

       3.      My co-counsel Martina Bernstein and I made several attempts to obtain the

consent of Counterclaim Defendant Connie Braun Casey (“Casey”) to conduct Ms. Scott’s

deposition via videoconference. Most recently, on January 18, 2019, at 1 p.m., attorney Bernstein

and I conferred by telephone with Casey’s counsel Victor Essen.

       4.      During this conference, Mr. Essen rejected our proposal to allow Ms. Scott to

testify via videoconference, giving as the sole reason the fact that Scott is “prosecuting” her

counterclaims in Missouri. Later that day, Mr. Essen served a Notice of Deposition, requiring
Ms. Scott to appear in St. Louis on February 8. A true and correct copy of the Notice of

Deposition is attached hereto as Exhibit A.

       5.      In order to testify at the noticed deposition in person, Ms. Scott would have to

travel approximately 1,600 miles round trip in freezing winter weather and potentially dangerous

driving conditions and be absent from work and home for several days and nights.

       I declare under the penalty of perjury that the foregoing is true and correct.



January 19, 2019

Los Angeles, CA                                      /s/ Jared Goodman
                                                     Jared Goodman




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